Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 1 of 10 PageID #:11484




                              EXHIBIT 7
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 2 of 10 PageID #:11485




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ANDREW CORZO, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLENDER, BRANDON PIYEVSKY,
BENJAMIN SHUMATE, BRITTANY
TATIANA WEAVER, and CAMERON
WILLIAMS, individually and on behalf of all
others similarly situated,

                              Plaintiffs,

                      v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY,                          Case No.: 1:22-cv-00125
UNIVERSITY OF CHICAGO, THE                        Hon. Matthew F. Kennelly
TRUSTEES OF COLUMBIA UNIVERSITY
IN THE CITY OF NEW YORK, CORNELL
UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE
UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY,
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE
DAME DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA,
WILLIAM MARSH RICE UNIVERSITY,
VANDERBILT UNIVERSITY, and YALE
UNIVERSITY,

Defendants.

THIS DOCUMENT RELATES TO:

Plaintiffs’ Proposed Plan of Allocation for the
Settlement Class
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 3 of 10 PageID #:11486




         PLAINTIFFS’ [PROPOSED] REVISED PLAN OF ALLOCATION FOR
         SETTLEMENTS WITH UNIVERSITY OF CHICAGO AND THE FIVE
                    ADDITIONAL SETTLING DEFENDANTS

       Plaintiffs Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender,

Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams

(“Plaintiffs”), on behalf of the Settlement Class (as defined in the Settlement Agreements),

submitted an allocation plan (“Allocation Plan”) to allocate funds received as a result of the

proposed settlement with Defendant University of Chicago to members of the proposed

Settlement Class. See ECF 428-6 (attached hereto as Exhibit A). On September 9, 2023, the

Court preliminarily approved the settlement with the University of Chicago and the Allocation

Plan. See ECF 439 at 5.

       Because the proposed Settlement Class is the same across the six settlements to date,

Plaintiffs propose to incorporate and use substantially the same Allocation Plan that the Court

has already approved. Plaintiffs propose a combined allocation plan that applies to all of the

settlements to date. In other words, Plaintiffs would conduct a single allocation process and

distribution process across all settlements. The only difference between the previously approved

Allocation Plan and the one Plaintiffs propose here is that the Settling Parties have agreed that

they would seek leave of Court to distribute any excess funds that exist after making one or more

distributions to members of the Settlement Class to a Court-approved cy pres recipient if it were

determined that further distributions would not be cost effective.




                                                 2
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 4 of 10 PageID #:11487




                              EXHIBIT A
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 5 of 10 PageID #:11488
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 6 of 10 PageID #:11489
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 7 of 10 PageID #:11490
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 8 of 10 PageID #:11491
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 9 of 10 PageID #:11492
Case: 1:22-cv-00125 Document #: 603-9 Filed: 01/23/24 Page 10 of 10 PageID #:11493
